 Case 2:18-cv-02188-PKH Document 1         Filed 11/07/18 Page 1 of 13 PageID #: 1
                                                                               FILED
                                                                         US DISTRICT COURT
                                                                         WESTERN DISTRICT
                                                                           OF ARKANSAS
                          TJNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF ARKANSAS                  Nov 7, 2018
                                    FORT SMITH DIVISION                 OFFICE OF THE CLERK


UNITED STATES OF AMERICA,

      Plaintiff,



                                                                         18-2188 PKH
24 CASES (SIXTEEN, 18.7 OZ. BOXES PER                        Civil No.
CASE) MORE OR LESS, OF RAISIN BRAN CEREAL,
AN ARTICLE OF FOOD, LABELED IN PART:                         VErurrpo Coptpr,lrxr
                                                             FoR FoRFEITURE IN REM
(Case)

161   18.7   0Z BOXES***MEIJ
91389***RAISIN BP\r{N
CEREAL***BB: AUG2018 CCP 19:44
0653

(Box)

"meijeP** RAISIN BRAN *** NET WT.
18.7 OZ***AUG20l8 CCP***DIST. BY
MEIJER DISTRIBUTION, INC. GRAND
RAPIDS, MI49544***,

I8I CASES OF 6,8 OZ BOTTLES OF
RENEWAL HAND SANITIZER

(BOTTLE)
<***IUTE AID***RENEWAL
114***AnVANCED
HAND SANITIZER***8FL
oz***L001 3548F8***0230975 EXP.
0l 12016 2 1.25* **DRUG FACTS* * *
ACTIVE INGREDIENT***ETHYL
ALCOHOL
70%** *PURPOSE* **AIITISEPTIC* * *DI
STRIBUTED BY RITE AID 30 HI]NTER
LANE, CAMP HILL, PA 1701I***'




                                             I
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13 CASES OF (12
             EACH BOXES)
NEUTROGENA BABY FACES
SUNSCREEN SPF 45 2.5 FL OZ

(CASE)
(* * *NEUTROGENA+    **
                    LOT0022C* * * E
XP2OI4/10***NEUTROGENA
CORPORATION LOS ANGELES, CA
90045 PURE & FREE BABY FACES
ULTRA GENTLE CREAM SIJNSCREEN
BROAD SPECTRUM SPF45+2.5 FL
oz***-
(BOTTLE)

(***NEUTROGENA* * *PURE FREE
                          &
BABY FACES ULTRA GENTLE
CREAM SUNSCREEN***BROAD
SPECTRUM SPF 45+***DRUG
FACTS***ACTIVE INGREDIENT
TITANIUM DIOXIDE 5.15, ZINC OXIDE
2.9%* * *PURITOSE***SUNSCREEN*       **L
oT0022c ExP20 I 4/l 0**   *'
3 PALLETS, MORE OR LESS OF 72
PIECE/CASES OF CLAIROL HAIR
COLORING, LABELED IN PART:

(CASE)

G***CI AIROL
PROFESSIONAL* **CONTENTS: 72
PTECES (12-6
PACKSI***9y789N** *CLASSIC VERY
LIGHTNEUTRAL
BLONDE***381 519063 1 07***323403020
0* **320456* **09.23 ** *84886535* ** 103
81519063104***',

3 CASES, MORE OR LESS, OF COLD
CREAM DEEP CLEANSING MAKE.UP
REMOVER, LABELED IN PART:

(BOTTLE)

"+++Personal Care+**cold cream D

                                            2
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Cleansing** +removes make-up* * *NET
WT 8 oz** *Distributed by: PERSONAL
CARE PRODUCTS, LLC***Troy,
Michigan 48084 U.S.A.***Made in
China* * * PRO : 02 l20l 4* * * EXP :
0212017*,t*'

(CASE)

**r*1218 oz***PERSONAL CARE DEEP
CLEANSING COLD CREA]Vf * * t 1 OO
48155 92229 4***Personal Care Products,
LLC Troy, Michigan 48084 U.S.A.***'

92 BOXES (TWENTY, Super 9-12
GRAMS.
PACKSPER CASE)MOREORLESS,
OF TAMPONS
BIODEGRADABLE, AN ARTICLE OF
MEDICAL DEVICE, LABELED IN
PART:

(Box)
(+ **TAIV{PONS
                BIODEG&AnARLE* * *
Super** *228610***20
tampons** *ATTENTION' * * *
Choose the absorbency to best suit your
needs:* **
Ingredients:   * + *TAMPONS

BIODEGRADABLE
* **228610***Disuibuted by Rostam

us***
Lincoln, RI 02865***'

3 BOXES OF STERILE SIGNATURE
CARE HYDROGEN
PEROXIDE CLEANING AND
DISINFECTING SOLUTION 12 FL OZ.
 AN ARTICLE OF MEDICAL DEVICE,
LABELED IN PART:

(BOX)

 ***sTEzuLE *+* HYDROGEN
PEROXIDE Cleani & Disinfec          Lens


                                           J
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Care System  *** l2FL OZ *** TAMPER
EVIDENT: +** WAzu{ING. ***
PRECAUTIONS: *** Store below 25'C
(77"p1 *** DIRECTIONS FOR USE. ***
Signature care *** STERILE *** RD15159
*** 134720 Erut 5/18 ***

and

AND ALL ARTICLES OFHT]MANAND
ANIMALFOOD IN ANY SIZE AND
TYPE OF CONTAINER (EXCLUDING
METAI AND GLASS CONTAINERS),
AND ANY AND ALL DRUGS,
COSMETICS, AND DEVICES LOCATED
ANYWMRE ON THE PROPERTY AT J
AND L GROCERY, LLC, 48IO N.
HIG}IWAY 71, ALMA, ARKANSAS
INCLUDING, BT]T NOT LIMITED, TO
TFM MAIN WAREHOUSE, WAREHOUSES
1-6, TTIE PRICING SFIED, THE RETAIL
STORE, TIIELIQTIIDATION SHED, OR
ANY OTHER STORAGE FACILITY ON
TFM PROPERTY (EXCLI.'DNG ANY
WALK-IN COOLERS AND WALK-IN
FREEZRS)ANDWHICHARE
LABELED OR OTHERWISE
DETERMINED TO HAVE ORIGINATED
OUTSIDE OF THE STATE OF
ARKANSAS, MORE PARTICULARLY
DESCRIBED IN EXHIBIT A.

      Defendant Articles




        Plaintiff, United States of America, by its attomey, Duane (Dak) Kees, United   States Attomey


for the Westem District of Arkansas, brings this verified complaint and alleges as follows:




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                                   NATURE OF THE ACTION

         l.     This complaint is filed by the United States of America, and requests seizure and

condemnation   of articles of food, drug, device, and cosmetic as described in the caption, in

accordance with the Federal Food, Drug, and Cosmetic Act (the        "Act"), 2l U.S.C.    I   301 et seq.

         2.     The Defendant Articles consist of all articles of food, drug, device, and cosmetic

located on the premises of J and   L Grocery, LLC C'J&L), 4810 N. Highway 71, Alma, Arkansas.

                                   JURISDICTION AND VEI\ruE

         3.     This is a civil forfeiture action in rem brou;ght pursuant to   2l   U.S.C. $ 334 to seize

and condemn the Defendant Articles because they are in violation of the              Act. This Court has
jurisdiction over an action commenced by the United States under 28 U.S.C. $ 1345 and 2l U.S.C.

$ 334.

         4.     This Court has ln rez jurisdiction over the Defendant Articles, and venue is proper

under 28 U.S.C. g 1395(b) and   2l U.S.C. $ 334(a)(l),   because ttre Defendant Articles are located at

4810 N. Highway 71, Alma, Arkansas, in the Westem District of Arkansas, Fort Smith Division.

         5.     The Defendant Articles consist in whole or in part ofcomponents that were shipped

in interstate commerce from outside the state ofArkansas.

         6.     Upon filing of this Complaint, the United States requests that this Court issue an

arrest warrant in rem pursuant to Supplemental Rule G(3)(b), which the United States           will   execute

upon the Defendant Articles pursuant to Supplemental Rule G(3)(c).

                                    BASISFORFORFEITI,'RE

         7.     The Defendant Articles are food within the meaning              of the Act, 21        U.S.C.

$ 321(f), articles of drug within the meaning of the Act,      2l   U.S.C. $ 321(g), articles of device




                                                    5
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within the meaning of the Act,21 U.S.C. $ 321(h), and articles of cosmetic within the meaning of

the   Act,2l U.S.C.   $ 321(D.

          8.       The Defendant Articles offood are adulterated while held for sale after shipment   of

oneor more of their components in interstate commerce, within the meaning of the Act,        2l   U.S.C.

$ 3a2(a)(a), in   that they have been prepared, packed, or held under insanitary conditions whereby

they may have become contaminated with filth or may have been rendered injurious to health.

          9.       The Defendant Articles ofdrug are adulterated while held for sale after shipment   of

one or more     of their components in interstate commerce, within the meaning of the Act, 2l U.S.C.

$ 351(aX2XA), in that they have been prepared, packed, or held under insanitary conditions

whereby they may have become contaminated with filth, or may have been rendered injurious to

health.

          10.      The Defendant Articles ofdrug are also adulterated while held for sale after shipment

of one or more of their components in interstate commerce, within the meaning of $ 351(a)(2)(B),

in that the facilities or controls used for their manufacture, processing, packing, or holding do not

conform to or are not operated or administered in conformity with current good manufacturing

practice to assure that such drugs meet the requirements of the Act as to safety, and have the identity

and strength, and meet the quality and purity characteristics, which they purport or are represented

to possess.

          ll.      The Defendant Articles ofdevice are adulterated while held for sale after shipment

of one or more of their components in interstate commerce, within the meaning of the Act, 2l

U.S.C. $ 351(a)(2)(A), in that they have been prepared, packed, or held under insanitary conditions

whereby they may have become contaminated with filth, or may have been rendered injurious to

health.



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          12.      The Defendant Articles of cosmetic are adulterated while held for sale after

shipment of one or more of their components in interstate commerce, within the meaning of the

Act, 2l U.S.C. $ 361(c), in that they have been prepared, packed, or held under insanitary conditions

whereby they may have become contaminated with frlth or may have been rendered injurious to

health.

          13.      Based on the foregoing, the Defendant Articles are held illegally within the

jurisdiction of this Court and are liable to seizure, forfeiture, and condemnation pursuant to 2l

u.s.c.    $ 334.

                                                FACTS

         14.       J&L receives, holds for sale, and distributes foods, drugs, devices, and cosmetics.

         15.       J&L's facility consists of multiple buildings, including a main warehouse;   a   pricing

shed; a retail store; a liquidation shed; six holding warehouses, numbered one (1) through six (6);

and outdoor storage areas (outdoor storage areas on      J&L's facility include three awning coverings,

which are identified as follows: "Overhead covered Awning storage area adjacent to the Dock,"

"Overhead covered Awning storage area adjacent to the Freezer," and "Overhead covered Awning

storage area adjacent to the Liquidation Warehouse").

       16.         The United States Food and Drug Administration     ("FDA") conducted   an inspection

at J&L between September 19,2018 and October 23,2018. During the inspection, FDA

investigators observed articles of food, drug, device, and cosmetics at J&L's facility being held

under insanitary conditions.

       17.         The insanitary conditions observed by FDA investigators include but are not

limited to:




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      a   )      Widespread pest infestation throughout the main warehouse, warehouses l-6, the

liquidation shed, and the pricing shed, including multiple live and dead rodents; rodent excreta

pellets too numerous to count in, on, and around containers of human and animal food, drug,

device, and cosmetic products; animal feces; numerous containers    that had been rodent gnawed;

food, drug, device, and cosmetic product packaging with stains characteristic        of rodent urine;

rodent nesting material between food pallets; live and dead insects in contact with human and

animal food, drug, device, and cosmetic products; and live raccoons and at least one live cat in the

storage areas.

      b   )      Building defects, such as holes through exerior walls and gaps under doors, and

water damage, which serve as access points into the buildings for pests. Pest sounds were heard in

the walls and ceilings of the main warehouse.

      c   )      Insufficient maintenance ofthe grounds, including overgrown brush, downed tree

limbs, liuer in front ofthe buildings, and piles ofdebris outside ofthe buildings.

      d   )      Water leaks were also observed in the roofinside the liquidation shed.

      e   )      Lack of protection against product contamination was observed, including open

boxes of comingled products with apparent pest activity therein.

       18.       During the inspection, FDA found evidence of expired drug products being held

for sale in multiple storage locations for wholesale and retail customers. FDA investigators further

observed products being stored and held for sale in outdoor storage locations that     fail to provide

protection from the outside environment or from pest and rodent infestation, and that do not provide

an environment where temperature and    humidity can be controlled (including the Overhead covered

Awning storage area adjacent to the Dock, Overhead covered Awning storage area adjacent to the

Freezer, and Overhead covered Awning storage area adjacent to the Liquidation Warehouse).



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         19.       During the inspection, FDA investigators observed that drug products that have

been subject to improper storage conditions were salvaged and retumed to the marketplace without

appropriate testing and inspection, as required by            2l   C.F.R.   $   211.208. FDA inspectors also

observed that the buildings used to hold drug and device products were not maintained in a good

state   ofrepair or maintained in     a clean and sanitary   condition.

         20.       During the inspection, FDA investigators noted instances where J&L offered for

sale expired drug products. Investigators noted that J&L failed to keep distribution records to

facilitate any necessary recall of drug products and noted that drug products were not stored at

recommended temperatures to prevent adversely affecting their identity, strength, quality, and

purity during storage.

         21.       FDA investigators observed evidence of expired device products being held for

sale in the grocery retail store and in multiple storage locations.

         22.       Attached hereto as Exhibit        B   are photographs        of the conditions at the J&L

observed during the September-October 201 8 inspection.

         23.       FDA's laboratory analyses of samples collected during the inspection confirmed

the presence   offiltr,   inchrding rodent urine, rodent excreta pellets, rodent hairs, and rodent gnaw holes


in product packaging.

         24.       By reason of the foregoing, the Defendant Articles are held illegally within the

jurisdiction   of this Court and are liable to seizure, condemnation,                and forfeiture pursuant to

2l u.s.c.    $ 334.




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                                      CLAIM FOR FORFEITURE

                                                 COUNT I

      25.        Paragraphs     I through   24 and Exhibits   A and B ofthis Complaint are incorporated

by reference.

      26.        For the foregoing reasons, the Defendant Articles of fmd are adulterated while

held for sale after shipment of one or more of their components in interstate commerce, within the

meaning of the Act,   2l   U.S.C. $ 3a2(aXa), in that they have been prepared, packed, or held under

insanitary conditions whereby they may have become contaminated with filth or may have been

rendered injurious to health.

                                                COI,]NTtr

      27.        Paragraphs     I through 24 and Exhibits A      and B   ofthis Complaint   are incorporated

by reference.

      28.        For the foregoing reasons, the Defendant Articles ofdrug are adulterated while

held for sale after shipment of one or more of their components in interstate commerce, within the

meaning of the Act,   2l   U.S.C. $ 351(a)(2XA), in that they have been prepared, packed, or held

under insanitary conditions whereby they may have become contaminated with filth, or may have

been rendered injurious to health.

                                                COI,JNT    trI
      29.        Paragraphs     I through 24 and Exhibits A      and B   ofthis Complaint are incorporated

by reference.

      30.        For the foregoing reasons, the Defendant Articles ofdevice are adulterated while

held for sale after shipment of one   or more of their components in interstate commerce, within the

meaning of the Act,   2l    U.S.C. $ 351(aX2XA), in that they have been prepared, packed, or held


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under insanitary conditions whereby they may have become contaminated with filth, or may have

been rendered injurious to health.

                                               COTJNT     IV

      31.          Paragraphs 1 through 24 and Exhibits    A and B ofthis Complaint are incorporated

by reference.

      32.          For the foregoing reasons, the Defendant Articles ofdrug are adulterated while

held for sale after shipment of one   or more of their components in interstate commerce, within the

meaning of    2l   U.S.C. $ 351(a)(2)@), in that the facilities or controls used for their manufacture,

processing, packing, or holding do not conform to or are not operated or administered in conformity

with current good manufacturing practice.

                                               COI,'NT V

      33.          Paragraphs   I through 24 and Exhibits A    and B   ofthis Complaint are incorporated

by reference.

      34.          For the foregoing reasons, the Defendant Articles of cosmetic are adulterated

while held for sale after shipment of one or more of their components in interstate commerce, witltin

the meaning     ofthe Act,2l U.S.C.   $ 361(c), in that they have been prepared, packed, or held under

insanitary conditions whereby they may have become contaminated with filth or may have been

rendered injurious to health.

      WHEREFORE, the United States requests that: the Court issue a warrant for the arrest lz

rem for seizure of the Defendant Articles; that notice of this action be given to all persons who

reasonably appear to be potential claimants ofthe Defendant Articles to be forfeited and condemned

to the United States; this Court decree forfeiture ofthe Defendant Articles to the United States; that

the Defendant Articles be disposed ofas this Court may direct pursuant to the provisions ofthe Act;



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and that   Plaintiffbe awarded its costs and disbursements in this action. and for such other and further

reliefas the Court deems proper andjust.

       Dated this 7th day of November, 2018.



                                                 Respectfully Submitted,
                                                 Duane (Dak) Kees
                                                 United States Attomey




                                                 By: Deborah Groom
                                                 Arkansas Bar No. 80054
                                                 Assistant U.S. Attomey
                                                 Westem District of Arkansas
                                                 414 Parker Avenue
                                                 Fort Smith, AR 72901
                                                 479-783-5125
                                                 Debbie. groom@usdoj. gov




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                                            VERIFICATION

I, Paul Frazier, veriS and declare under penalty ofperjury as follows:

      I am a Compliance Officer, U.S. Food and Drug Administration, and state that I have read the

forgoing Verified Complaint for Forfeiture /z Rem, and     t   at the contents thereof are true to the best of my

knowledge, information, and belief.

      The sources of my knowledge and information and the grounds of my belief are the official files

and records ofthe United States maintained in the ordinary course ofbusiness as well as my investigation

of this casc, togaher with others, as a Compliaocc Officcr, Dallas      Disrict Office, United States Food and

Drug Administration. I hereby verifr and declarc under peralty ofperjury that the foregoing is tnre and

correct



Dated: Novembe r f,ZOtt
                                                     Paul Frazier
                                                     Compliance Officer,
                                                     U.S. Food and Drug Administration




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         {tqufr   Tht  ?6ci2,ayr   ovu k /\/ tt/' 2-zr[,

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                                                                                 Comrn- E)iplr:"s 05-C:!-2
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